 Case 2:09-md-02047-EEF-MBN Document 14487-2 Filed 05/25/12 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED                 MDL NO. 2047
DRYWALL PRODUCTS LIABILITY                  SECTION: L
LITIGATION
THIS DOCUMENT RELATES TO:                   JUDGE FALLON
ALL CASES AND                               MAG. JUDGE WILKINSON

Payton, et al. v. Knauf Gips, KG, et al.
Case No. 09-cv-07628 (E.D. La.)

Gross, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-06690 (E.D. La.)

Rogers, et al. v. Knauf Gips, KG, et al.
Case No. 2:10-cv-00362 (E.D. La.)

Amato, et al. v. Liberty Mutual Insurance
Company, Case No. 2:10-cv-00932 (E.D.La.)

Abreu, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 2:11-00252 (E.D. La.)

Block, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 11-cv-1363 (E.D. La.)

Arndt, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 11-cv-2349 (E.D. La.)

Cassidy, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 11-cv-3023 (E.D. La.)

Vickers, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-04117 (E.D. La.)

           PLAINTIFFS’ STEERING COMMITTEE’S SUPPLEMENT
     TO THE MOTION FOR AN ORDER: (1) PRELIMINARILY APPROVING
   THE SETTLEMENT AGREEMENT IN MDL NO. 2047 REGARDING CLAIMS
   INVOLVING BUILDERS, INSTALLERS, SUPPLIERS AND PARTICIPATING
  INSURERS; (2) CONDITIONALLY CERTIFYING A SETTLEMENT CLASS; (3)
  APPROVING THE FORM NOTICE TO CLASS MEMBERS;(4) SCHEDULING A
 JOINT FAIRNESS HEARING; AND (5) STAYING CLAIMS AGAINST BUILDERS,
         INSTALLERS, SUPPLIERS, AND PARTICIPATING INSURERS
   Case 2:09-md-02047-EEF-MBN Document 14487-2 Filed 05/25/12 Page 2 of 6




        The Plaintiffs’ Steering Committee hereby submits the proposed Notice and Summary

Notice attached as Exhibits “A” and “B” respectively. In our Motion, the PSC noted that these

papers had not yet been finalized and would be promptly provided.

        In addition, pursuant to Sections 7.1.1.3, 7.1.1.4 and 7.1.1.5 of the Settlement Agreement

in MDL No. 2047 Regarding Claims Involving Builders, Installers, Suppliers and Participating

Insurers, the PSC submits the attached Notice Program Estimate as Exhibit “C”. The Notice

Program Estimate provides the markets in which local and community newspapers and television

spots will be published, as well as the periodicals in which notice will published.

        Based on the above, the PSC respectfully request that the plan and form of notice be

approved by the Court at the Preliminarily Approval Hearing presently scheduled for May 31,

2012.

                                              Respectfully submitted,



Dated: May 25, 2012                           /s/ Russ M. Herman
                                              Russ M. Herman, Esquire (Bar No. 6819)
                                              Leonard A. Davis, Esquire (Bar No. 14190)
                                              Stephen J. Herman, Esquire (Bar No. 23129)
                                              HERMAN , HERMAN & KATZ, LLP
                                              820 O’Keefe Avenue
                                              New Orleans, LA 70113
                                              Phone: (504) 581-4892
                                              Fax: (504) 561-6024
                                              Ldavis@hhklawfirm.com
                                              Plaintiffs’ Liaison Counsel in MDL 2047




                                                 2
   Case 2:09-md-02047-EEF-MBN Document 14487-2 Filed 05/25/12 Page 3 of 6




                                      Arnold Levin (On the Brief)
                                      Fred S. Longer (On the Brief)
                                      Sandra L. Duggan (On the Brief)
                                      Matthew C. Gaughan (On the Brief)
                                      LEVIN , FISHBEIN , SEDRAN & BERMAN
                                      510 Walnut Street, Suite 500
                                      Philadelphia, PA 19106
                                      Phone: (215) 592-1500
                                      Fax: (215) 592-4663
                                      Alevin@lfsblaw.com
                                      Plaintiffs’ Lead Counsel in MDL 2047

                          PLAINTIFFS’ STEERING COMMITTEE

Dawn M. Barrios                             Bruce William Steckler
BARRIOS, KINGSDORF & CASTEIX , LLP          BARON & BUDD , P.C.
701 Poydras Street, Suite 3650              3102 Oak Lawn Ave., Suite 1100
New Orleans, LA 70139                       Dallas, TX 75219
Phone: (504) 524-3300                       Phone: (214) 521-3605
Fax: (504) 524-3313                         Fax: (214) 520-1181
Barrios@bkc-law.com                         bsteckler@baronbudd.com

Daniel E. Becnel, Jr.                       Ervin A. Gonzalez
BECNEL LAW FIRM , LLC                       COLSON , HICKS, EIDSON , COLSON
P.O. Drawer H                                MATTHEWS, MARTINEZ, GONZALES,
106 W. Seventh Street                        KALBAC & KANE
Reserve, LA 70084                           255 Alhambra Circle, Penthouse
Phone: (985) 536-1186                       Coral Gables, FL 33134
Fax: (985) 536-6445                         Phone: (305) 476-7400
dbecnel@becnellaw.com                       Fax: (305) 476-7444
                                            Ervin@colson.com
Robert C. Josefsberg
PODHURST ORSECK, P.A.                       Ben W. Gordon, Jr.
25 Flagler Street, 8th Floor                LEVIN , PAPANTONIO , THOMAS, MITCHELL
Miami, FL 33130                              ECHSNER & PROCTOR, P.A.
Phone: (305) 358-2800                       316 S. Baylen Street, Suite 600
Fax: (305) 358-2382                         Pensacola, FL 32502
rjosefsberg@podhurst.com                    Phone: (850) 435-7000
                                            Fax: (850) 435-7020
                                            bgordon@levinlaw.com




                                        3
  Case 2:09-md-02047-EEF-MBN Document 14487-2 Filed 05/25/12 Page 4 of 6




Hugh P. Lambert                               James Robert Reeves
LAMBERT AND NELSON                            LUMPKIN & REEVES
701 Magazine Street                           160 Main Street
New Orleans, LA 70130                         Biloxi, MS 39530
Phone: (504) 581-1750                         Phone: (228) 374-5151
Fax: (504) 529-2931                           Fax: (228) 374-6630
hlambert@lambertandnelson.com                 jrr@lumpkinreeves.com

Gerald E. Meunier                             Christopher Seeger
GAINSBURGH , BENJAMIN , DAVID , MEUNIER       SEEGER WEISS, LLP
 & WARSHAUER, LLC                             77 Water Street
2800 Energy Centre, 1100 Poydras Street       New York, NY 10005
New Orleans, LA 70163-2800                    Phone: (212) 584-0700
Phone: (504) 522-2304                         Fax: (212) 584-0799
Fax: (504) 528-9973                           cseeger@seegerweiss.com
gmeunier@gainsben.com
                                              Daniel K. Bryson
Jerrold Seth Parker                           WHITFIELD BRYSON & MASON LLP
PARKER, WAICHMAN , ALONSO , LLP               900 W. Morgan Street
3301 Bonita Beach Road                        Raleigh, NC 27603
Bonita Springs, FL 34134                      Phone: (919) 600-5000
Phone: (239) 390-1000                         Fax: (919) 600-5035
Fax: (239) 390-0055                           dan@wbmllp.com
Jerry@yourlawyer.com
                                              Richard J. Serpe
Scott Wm. Weinstein                           LAW OFFICES OF RICHARD J. SERPE
MORGAN & MORGAN                               Crown Center, Ste. 310
12800 University Drive, Suite 600             580 East Main Street
Ft. Myers, FL 33907                           Norfolk, VA 23510-2322
Phone: (239) 433-6880                         rserpe@serpefirm.com
Fax: (239) 433-6836
sweinstein@forthepeople.com                   Victor M. Diaz, Jr.
                                              V.M. Diaz and Partners, LLC
                                              119 Washington Ave., Suite 402
                                              Miami Beach, FL 33139
                                              Phone: (305) 704-3200
                                              Fax: (305) 538-4928
                                              victor@diazpartners.com




                                          4
  Case 2:09-md-02047-EEF-MBN Document 14487-2 Filed 05/25/12 Page 5 of 6




             OF COUNSEL TO PLAINTIFFS’ STEERING COMMITTEE

Richard S. Lewis                             Andrew A. Lemmon
HAUSFELD LLP                                 LEMMON LAW FIRM , LLC
1700 K Street, NW, Suite 650                 P.O. Box 904
Washington, DC 20006                         15058 River Road
Phone: (202) 540-7200                        Hahnville, LA 70057
Fax: (202) 540-7201                          Phone: (985) 783-6789
rlewis@hausfeldllp.com                       Fax: (985) 783-1333
                                             andrew@lemmonlawfirm.com


                               PROPOSED CLASS COUNSEL

Arnold Levin                                 Russ M. Herman, Esquire (Bar No. 6819)
LEVIN , FISHBEIN , SEDRAN & BERMAN           HERMAN , HERMAN & KATZ, LLP
510 Walnut Street, Suite 500                 820 O’Keefe Avenue
Philadelphia, PA 19106                       New Orleans, LA 70113
Phone: (215) 592-1500                        Phone: (504) 581-4892
Fax: (215) 592-4663                          Fax: (504) 561-6024
Alevin@lfsblaw.com                           Rherman@hhklawfirm.com




                                         5
  Case 2:09-md-02047-EEF-MBN Document 14487-2 Filed 05/25/12 Page 6 of 6




                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Plaintiffs’ Steering Committee’s Supplement
to Motion for an Order:(1) Preliminarily Approving the Settlement Agreement in MDL No. 2047
Regarding Claims Involving Builders, Installers, Suppliers and Participating Insurers; (2)
Conditionally Certifying a Settlement Class; (3) Approving the Form Notice to Class Members;
(4) Scheduling a Joint Fairness Hearing; and (5) Staying Claims Against Builders, Installers,
Suppliers, and Participating Insurers has been served on Defendants’ Liaison Counsel, Kerry
Miller, by e-mail and upon all parties by electronically uploading the same to LexisNexis File &
Serve in accordance with Pre-Trial Order No. 6, and that the foregoing was electronically filed
with the Clerk of Court of the United States District Court for the Eastern District of Louisiana
by using the CM/ECF System, which will send a notice of electronic filing in accordance with
the procedures established in MDL 2047 on this 25th day of May, 2012.



                                            /s/ Leonard A. Davis
                                            Leonard A. Davis, Esquire
                                            Herman, Herman & Katz, LLP
                                            820 O’Keefe Avenue
                                            New Orleans, Louisiana 70113
                                            Phone: (504) 581-4892
                                            Fax: (504) 561-6024
                                            Ldavis@hhklawfirm.com
                                            Plaintiffs’ Liaison Counsel in MDL 2047
                                            Co-counsel for Plaintiffs




                                               6
